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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA



                                     )
HON. BENNIE G. THOMPSON, et al.      )
                                     )
                  Plaintiffs,        )
                                     )
v.                                   ) Civil Action No. 1:21-CV-00400-APM
                                     )
DONALD J. TRUMP, et al.              )
                                     ) JURY TRIAL REQUESTED
                  Defendants.        )
                                     )



NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE PURSUANT TO FED. R.
   CIV. P. 41(a)(1)(A)(i) SOLELY AS TO PLAINTIFF BENNIE G. THOMPSON
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       On July 1, 2021, the Speaker of the United States House of Representatives announced

that the Honorable Bennie G. Thompson would serve as chair of the Select Committee to

Investigate the January 6th Attack on the United States Capitol (“Select Committee”). While

Rep. Thompson continues to believe strongly in the merits of this case, he wishes to avoid even

the appearance of a conflict of interest between his role on the Select Committee and his role as a

Plaintiff in this litigation. He therefore dismisses his claim with prejudice against Defendants

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i). The other Plaintiffs, who are not

members of the Select Committee, continue to pursue their claims.

Dated: July 20, 2021

Respectfully submitted,

 /s/ Janette McCarthy-Wallace                   /s/ Joseph M. Sellers
 Janette McCarthy-Wallace (pro hac vice         Joseph M. Sellers, Bar No. 318410
 motion pending)                                Brian Corman, Bar No. 1008635
 Anthony P. Ashton, Bar No. MD25220             Alison S. Deich, Bar No. 1572878
 Anna Kathryn Barnes, Bar No. 1719493           COHEN MILSTEIN SELLERS & TOLL PLLC
 NAACP                                          1100 New York Avenue, N.W. Fifth Floor
 Office of General Counsel                      Washington, DC 20005
 4805 Mount Hope Drive                          Telephone: (202) 408-4600
 Baltimore, MD 21215                            Facsimile: (202) 408-4699
 Telephone: (410) 580-5777                      jsellers@cohenmilstein.com
 jlouard@naacpnet.org                           bcorman@cohenmilstein.com
 aashton@naacpnet.org                           adeich@cohenmilstein.com



 Robert B. McDuff (admitted pro hac vice)
 MISSISSIPPI CENTER FOR JUSTICE
 767 North Congress Street
 Jackson, MS 39202
 601-259-8484
 rbm@mcdufflaw.com




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                                CERTIFICATE OF SERVICE


       I certify that on July 20, 2021, a copy of the foregoing was filed with the Clerk using the

Court’s CM/ECF system, which will send a copy to all counsel of record.



                                             Joseph M. Sellers
                                             COHEN MILSTEIN SELLERS & TOLL PLLC
                                             1100 New York Avenue, N.W.
                                             Fifth Floor Washington, DC 20005
                                             Telephone: (202) 408-4600
                                             Facsimile: (202) 408-4699
                                             jsellers@cohenmilstein.com
